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 4
     Attorney for Defendant
 5
     FRED PINEDA
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-134-JAM
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND
                                                    )       ORDER CONTINUING JUDGMENT
11
     v.                                             )       SENTENCING
                                                    )
12
     FRED PINEDA,                                   )
                                                    )       Date: January 28, 2014
13
                                                    )       Time: 9:45 a.m.
            Defendant.                              )       Judge: John A. Mendez
14
                                                    )
                                                    )
15
                                                    )
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17

18          The parties hereby stipulate the following:
19          1. Judgment and sentencing in this matter is presently set for December 10, 2013.
20              Counsel for the parties request the date for judgment and sentencing be continued to
21              January 28, 2014 at 9:45 a.m. Counsel for Mr. Pineda needs additional time to meet
22              with Mr. Pineda, review the PSR; discuss the findings and recommendations therein;
23              and, research and draft informal objections as necessary. Assistant U.S. Attorney
24              Michael Beckwith and USPO Ronnie Preap have been advised of this request and
25              have no objection. The parties requests the Court adopt the following schedule
26              pertaining to the presentence report:
27
                Judgment and Sentencing date:                                        1/28/14
28
                Reply, or Statement of Non-Opposition:                               1/21/14


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 1
              Motion for Correction of the Presentence Report
 2            Shall be filed with the Court and served on the
              Probation Officer and opposing counsel no later than:         1/14/14
 3
              The Presentence Report shall be filed with the Court
 4
              And disclosed to counsel no later than:                       1/7/14
 5
              Counsel’s written objections to the Presentence Report
 6            Shall be delivered to the probation officer and opposing
 7
              Counsel no later than:                                        12/31/13

 8

 9      IT IS SO STIPULATED.
10   Dated: November 18, 2013                                  /s/ John R. Manning
11
                                                              JOHN R. MANNING
                                                              Attorney for Defendant
12                                                            Fred Pineda
13

14   Dated: November 20, 2013                                 Benjamin B. Wagner
                                                              United States Attorney
15
                                                       by:    /s/ Michael Beckwith
16
                                                              MICHAEL BECKWITH
17                                                            Assistant U.S. Attorney

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19
                                               ORDER

20
           IT IS SO FOUND AND ORDERED this 21st day of November, 2013.
21

22                                                     /s/ John A. Mendez____________
23
                                                       HON. JOHN A. MENDEZ
                                                       U.S. DISTRICT COURT JUDGE
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